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                  Exhibit 31
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            The Trump administration is escalating its campaign against Harvard
            University — and looking for new ways to bring the storied institution to heel.

            The White House convened officials from nearly a dozen agencies on
            Wednesday to brainstorm additional punitive measures, according to one
            administration official and a second person familiar with the meeting, who
            were granted anonymity to share details. The administration official said that
            forthcoming actions are expected from the State, Treasury, Health and Human
            Services and Justice departments, among others, and could happen as early as
            next month.

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            The push comes as the White House regroups after a federal judge blocked its
            move to bar Harvard from enrolling international students, and underscores
            how President Donad Trump has grown increasingly invested in the battle.

            Even as some in the administration privately grouse that the aggressive posture
            is allowing Harvard to win public sympathy, Trump has kept up the attacks,
            threatening in a post last week to revoke its tax exempt status and chastising
            Harvard again Wednesday during an unrelated press conference.

            “Harvard is treating our country with great disrespect and all they’re doing is
            getting in deeper and deeper and deeper,” Trump told reporters Wednesday.

            But with the low-hanging policy options already underway, the administration
            knows it will need to get more creative to keep squeezing the school, according
            to two administration officials and another person familiar with the talks, who
            like others in the story were granted anonymity to share details of private
            conversations.

            The administration would not comment on what it is considering but some
            options include having the Department of Justice expand its investigation into
            the university’s admissions policies or cutting money to medical institutions
            affiliated with Harvard.


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            “The latest moves against Harvard are truly just scratching the surface,” said
            White House spokesperson Harrison Fields, without specifying what else the
            administration has to bring Harvard to heel. “Harvard decided to litigate this
            on MSNBC, the now defunded NPR, and the ratings-disaster CNN instead of
            acting like adults like many of their competitors have done and engaging in
            fruitful conversations and actions that would have saved them from their self-
            inflicted demise.”

            Harvard University declined to comment.

            The relentless focus has some inside the administration worrying that the
            longer the fight the greater the risk that the White House overplays its hand.

            “We’re fighting a losing battle,” one of the administration officials said,
            acknowledging that the university has the narrative upper hand when it comes
            to the effort to revoke Harvard’s student visas. “We’ve taken one of the most
            evil institutions and made them the victim.”
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            The fight comes amid the Trump administration’s broader efforts to reshape
            not just American government but the institutions that have long surrounded
            it. In addition to Harvard, the White House has taken on a slate of other
            prestigious universities, including other Ivy League schools and the University
            of California system, as part of a broader siege against cultural institutions it
            sees as out of step with the administration, from Big Law firms to the Kennedy
            Center.

            The conflict between the Trump administration and the Ivy League university
            has been brewing since February, but it escalated dramatically after an April 11
            letter replete with demands was mistakenly sent to Harvard at a time when a
            deal to avoid confrontation was a real possibility.

            Until that letter was sent, it seemed possible a deal could be reached. But once
            it was sent communication broke down.


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